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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                   )
In re:                                             )
                                                        Chapter 11
                                                   )
                                                   )
                                                        Case No. 21-31861 (DRJ)
KATERRA INC., et al. 1                             )
                                                   )
                                                        (Joint Administration Requested)
                               Debtors.            )
                                                   )

                        NOTICE OF APPEARANCE AND REQUEST
                      FOR SERVICE OF NOTICES AND DOCUMENTS

         PLEASE TAKE NOTICE that the undersigned appears as counsel to Greensill Limited

(in liquidation) acting by its joint liquidators, Andrew Charters and Sarah O’Toole of Grant

Thornton UK LLP of 30 Finsbury Square, London, UK EC2A 1AG (“Greensill Limited (in

liquidation)”), a creditor herein, and pursuant to 11 U.S.C. § 1109(b) and Federal Rules of

Bankruptcy Procedure 2002 and 9010(b), hereby requests that all notices given or required to be

given in this case be given and served upon:


                    Ryan C. Wooten
                    State Bar No. 24075308
                    S.D. Tex. Bar No. 1259974
                    ORRICK, HERRINGTON & SUTCLIFFE LLP
                    609 Main, 40th Floor
                    Houston, TX 77002
                    Telephone: (713) 658-6400
                    Facsimile: (713) 658-6401
                    Katerranotice@orrick.com

                    and

                    Raniero D’Aversa (pro hac vice admission pending)

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  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of
Debtor Katerra, Inc.’s principal place of business and the Debtors’ service address in these chapter 11
cases is 2700 Post Oak Boulevard, Suite 2450, Houston, Texas 77056.


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                   New York State Bar No. 2381473
                   Evan C. Hollander (pro hac vice admission pending)
                   New York State Bar No. 2216976
                   ORRICK, HERRINGTON & SUTCLIFFE LLP
                   51 West 52nd Street
                   New York, New York 10019-6142
                   Telephone: (212) 506-5000
                   Facsimile: (212) 506-5151
                   Katerranotice@orrick.com


         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only the

notices and papers referred to in the Federal Rules of Bankruptcy Procedure specified above, but

also includes, without limitation, orders and notices of any application, motion, petition,

pleading, request, complaint or demand, whether written or oral, formal or informal, and whether

transmitted or conveyed by mail, hand delivery, facsimile transmission, e-mail, telephone,

telegraph, telex or otherwise, which affects the above-captioned Debtors (the “Debtors”) or the

property of or in the possession, custody or control of the Debtors or which is otherwise filed or

given with regard to the above-referenced case.

         PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

pleading, claim, or suit shall waive any right (1) to have final orders in non-core matters entered

only after de novo review by a District Judge, (2) to trial by jury in any proceeding so triable in

this case or any case, controversy, or proceeding related to this case, or (3) to have the District

Court withdraw the reference in any matter subject to mandatory or discretionary withdrawal.

         PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service of Notices and Documents is without prejudice to Greensill Limited’s (in liquidation)

rights, remedies, claims, actions, defenses, setoffs, or recoupments, in law or in equity, against

the Debtors and any other entities either in this case or in any other action, all of which rights,

remedies, claims, actions, defenses, setoffs and recoupments are expressly reserved.


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         PLEASE TAKE FURTHER NOTICE that pursuant to Federal Rule of Bankruptcy

Procedure 3017(a), Greensill Limited (in liquidation) further requests that all plans and

disclosure statements filed herein by any party be duly served upon Greensill Limited’s (in

liquidation) undersigned counsel.

         Dated: August 9, 2021            ORRICK, HERRINGTON & SUTCLIFFE LLP


                                        By: /s/ Ryan C. Wooten
                                           Ryan C. Wooten
                                           Attorney-In-Charge
                                           State Bar No. 24075308
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                                           pending)
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                                           Facsimile: (212) 506-5151
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                                        Counsel to Greensill Limited (in liquidation) acting
                                        by its joint liquidators, Andrew Charters and Sarah
                                        O’Toole of Grant Thornton UK LLP of 30 Finsbury
                                        Square, London, UK EC2A 1AG




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                                 CERTIFICATE OF SERVICE

         This will certify that a true and correct copy of the foregoing document was forwarded by

electronic transmission to all registered ECF users appearing in the case on August _, 2021.

                                                         /s/ Ryan C. Wooten
                                                         Ryan C. Wooten




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